
Motion for assignment of counsel granted and Kevin M. Doyle, Esq., Capital Defender, 915 Broadway, 7th Floor, New York, NY 10010 assigned as counsel to the appellant on the appeal herein. May 12, 1999 is set as the date for transcription of all capital proceedings in County Court, Monroe County, pursuant to section 510.10 (b) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [b]). July 30, 1999 is set as the date for the Clerk of County Court, Monroe County, to *888furnish assigned counsel, without charge, one certified copy of the complete record of proceedings pursuant to section 510.10 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [c]). December 31, 1999 is set as the date for settlement of the record of the capital proceedings or the filing of a motion to settle in County Court, Monroe County, pursuant to section 510.10 (e) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [e]). March 1, 2000 is set as the date for filing in the Court of Appeals the required number of copies of the settled record on appeal, with proof of service, pursuant to section 510.11 of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.11).
